Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 1 of 10 Page ID #:1054




                                 IN THE UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

   GLOBAL MUSIC RIGHTS, LLC,                            )   CASE NO. 1:21-MC-00063-JPC
                                                        )
                  Petitioner,                           )
                                                        )   JUDGE J. PHILIP CALABRESE
           vs.                                          )
                                                        )   MAGISTRATE JUDGE
   SAGA COMMUNICATIONS, INC.,                           )   JONATHAN D. GREENBERG
                                                        )
                  Respondent.                           )   MEMORANDUM OPINION & ORDER
                                                        )
                                                        )


         This matter is before the magistrate judge pursuant to Local Rule 72.1. Before the Court is Plaintiff’s

  Motion to Transfer Venue and Motion to Compel. (Doc. Nos. 1, 3.) For the following reasons, the Court

  GRANTS the Motion to Transfer Venue (Doc. No. 3) and TRANSFERS the Motion to Compel (Doc. No.

  1) to the Central District of California under Rule 45(f).

                            I.       Factual and Procedural Background

         Since late 2016, Petitioner Global Music Rights, LLC (“GMR”) and Radio Music License

  Committee (“RMLC”), an organization that “represents the interests of the commercial radio industry on

  music licensing matters” https://radiomlc.org (last visited Sept. 29, 2021), have been engaged in antitrust

  litigation in the Eastern District of Pennsylvania and the Central District of California. (Doc. No. 3-1 at 6.)

  In the original action brought by GMR in California, GMR alleged “that RMLC and its members, which

  collectively own 10,000 stations and account for 90 percent of terrestrial radio revenues in the United States,

  operate as a price-fixing cartel.” (Id.) The California litigation consists of three cases, including the case




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Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 2 of 10 Page ID #:1055




  brought by RMLC against GMR originally in the Eastern District of Pennsylvania.1 See Global Music

  Rights, LLC v. Radio Music License Committee, Inc., et al, Case No. 2:16-cv-09051-TJH-AS. Since the

  individual members of RMLC are not parties to the litigation, GMR must obtain discovery from the

  individual members through the subpoena process. (Doc. No. 3-1 at 6.) Throughout the California

  litigation, discovery disputes and discovery issues have arisen that have been addressed by the court. See

  Global Music Rights, LLC v. Radio Music License Committee, Inc., et al, Case No. 2:16-cv-09051-TJH-AS

  (Doc. Nos. 106, 112, 126-27, 145, 153, 158, 161-63, 183, 193, 195, 211, 230, 237); Global Music Rights,

  LLC v. Radio Music License Committee, Inc., et al, Case No. 2:18-mc-00170-TJH-AS.

         On September 4, 2019, GMR served a subpoena duces tecum on Respondent Saga Communications,

  Inc. (“Saga”). (Doc. No. 19 at 6.) GMR asserts that Saga “plays a leading role” in RMLC. (Id.) GMR

  asserts it “has served nearly 21 identical subpoenas on leading members of the RMLC cartel, including

  Saga.” (Doc. No. 3-1 at 6.) Counsel for RMLC also represents many RMLC members, including Saga.

  (Id. at 5-6.) See also Global Music Rights, LLC v. Radio Music License Committee, Inc., et al, Case No.

  2:16-cv-09051-TJH-AS.

         On September 19, 2019, Saga submitted its responses and objections to GMR’s subpoena. (Doc.

  No. 3-4.) Saga argued the subpoena violated Fed. R. Civ. P. 45, as GMR ignored the rule’s requirement to

  take reasonable steps to avoid imposing undue burden or expense on a non-party, and asserted that “most,

  if not all, of the Requests are unreasonably cumulative of information that GMR could more easily get from

  RMLC.” (Id. at 3.) In response to many requests for production, Saga objected that the material sought


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    The Eastern District of Pennsylvania granted GMR’s motion to dismiss the action for lack of personal
  jurisdiction and transferred the case to the Central District of California, Radio Music License Committee,
  Inc. v. Global Music Rights, LLC, Case No. 2:16-cv-06076-CDJ (Doc. No. 117), where it was consolidated
  with the original GMR action. See Global Music Rights, LLC v. Radio Music License Committee, Inc., et
  al, Case No. 2:16-cv-09051-TJH-AS; Radio Music License Committee, Inc. v. Global Music Rights, LLC,
  Case No. 2:19-cv-03957-TJH-AS.
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Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 3 of 10 Page ID #:1056




  was not relevant to any party’s claims or defenses and was not proportional to the needs of the case. (Id. at

  10-38.) Saga stated in response to several requests for production, almost all of which are subject to the

  pending motion to compel (Doc. No. 1), that it would not produce any documents in response. (Doc. No.

  3-4 at 10-38.)

         Since November 2019, counsel for GMR and Saga have met and conferred, as well as exchanged

  correspondence, regarding the responses to the subpoenas by the radio groups represented by Latham &

  Watkins, LLC. (Doc. No. 3-2 at 3; see also Doc. No. 19-1, Ex. 5-14.)

         On January 2, 2020, United States Magistrate Judge Alka Sagar ruled on GMR’s motion to compel

  discovery in the underlying litigation against RMLC. (Doc. No. 3-6.) In denying GMR’s motion without

  prejudice, Magistrate Judge Sakar addressed several issues, including the “number and scope of RMLC’s

  document custodians and the relevance of discovery related to performing rights organizations (“PRO”)

  other than GMR.” (Doc. No. 3-2 at 3; see also Doc. No. 3-6.) In a footnote, Magistrate Judge Sakar wrote,

  “The Court notes that GMR has issued multiple subpoenas to the Directors personally and the radio stations

  where the Directors are employed. (Joint Stip. at 80; Lovejoy Decl. ¶ 36). Thus, GMR will have an

  opportunity to determine if responsive information is not being fully captured by RMLC’s custodians.”

  (Doc. No. 3-6 at 8 n.2.)

         On August 6, 2021, GMR filed a motion to compel discovery and a motion to transfer venue in this

  court. (Doc. Nos. 1, 3, 19.)

         On August 26, 2021, District Judge Terry J. Hatter, Jr., on joint stipulation by the parties, modified

  the scheduling order so that fact discovery closes on January 14, 2022. Global Music Rights, LLC v. Radio

  Music License Committee, Inc., et al, Case No. 2:16-cv-09051-TJH-AS (Doc. No. 225).




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Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 4 of 10 Page ID #:1057




         On August 27, 2021, Saga filed responses in opposition to the motion to compel and the motion to

  transfer venue. (Doc. Nos. 24-25, 27.) On September 3, 2021, GMR filed replies in support of its motions.

  (Doc. Nos. 30-32.)

         In their briefing regarding the pending motion to compel, the parties argue about the scope of Judge

  Sakar’s January 2, 2020 Order. (Doc. No. 19 at 13; Doc. No. 27 at 13-14; Doc. No. 32 at 10.)

                                       II.     Law and Analysis

         A. Applicable Standards

         Under Rule 45 of the Federal Rules of Civil Procedure, a party may command a nonparty to produce

  documents. Fed. R. Civ. P. 45(a)(1). Rule 45 permits the Court to quash a subpoena that subjects a nonparty

  to undue burden. Fed. R. Civ. P. 45(d)(3)(A)(iv). Courts “have held that the scope of discovery under a

  subpoena is the same as the scope of discovery under Rule 26.” Hendricks v. Total Quality Logistics, 275

  F.R.D. 251, 253 (S.D. Ohio 2011) (citation omitted). Under Rule 26, district courts may take into account

  “the importance of the issues at stake in the action, the amount in controversy, the parties’ relative access to

  relevant information, the parties’ resources, the importance of the discovery in resolving the issues, and

  whether the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P.

  26(b)(1). “Courts must ‘balance the need for discovery against the burden imposed on the person ordered

  to produce documents,’ and the status of that person as a non-party is a factor.” In re: Modern Plastics

  Corp., 890 F.3d 244, 251 (6th Cir. 2018) (quoting Am. Elec. Power Co. v. United States, 191 F.R.D. 132,

  136 (S.D. Ohio 1999)).

         Under Rule 45(f), “[w]hen the court where compliance is required did not issue the subpoena, it may

  transfer a motion under this rule to the issuing court if the person subject to the subpoena consents or if the

  court finds exceptional circumstances.” Fed. R. Civ. P. 45. Should such a transfer occur, “if the attorney

  for a person subject to a subpoena is authorized to practice in the court where the motion was made, the
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Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 5 of 10 Page ID #:1058




  attorney may file papers and appear on the motion as an officer of the issuing court.” Id. “To enforce its

  order, the issuing court may transfer the order to the court where the motion was made.” Id.

         As this Court has recently explained:

               In evaluating whether there are “exceptional circumstances” warranting transfer,
               “[t]he prime concern should be avoiding burdens on local nonparties subject to
               subpoenas, and it should not be assumed that the issuing court is in a superior
               position to resolve subpoena-related motions.” Advisory Committee Notes, Fed.
               R. Civ. P. 45 (2013 Amendments). However, in some circumstances, transfer may
               be warranted “in order to avoid disrupting the issuing court's management of the
               underlying litigation, as when that court has already ruled on issues presented by
               the motion or the same issues are likely to arise in discovery in many
               districts.” Id. Transfer is appropriate only if such interests outweigh the interests
               of the nonparty served with the subpoena in obtaining local resolution of the
               motion. Id. See also Parker Compound Bows, Inc. v. Hunter’s Manufacturing
               Co., Inc., No. 5:15-mc-00064, 2015 WL 7308655, at * 1 (N.D. Ohio Nov. 19,
               2015).

               In determining whether transfer is appropriate under Fed. R. Civ. P. 45(f), federal
               courts have considered a number of factors, including “‘case complexity,
               procedural posture, duration of pendency, and the nature of the issues pending
               before, or already resolved by, the issuing court in the underlying
               litigation.’” Parker Compound Bows, Inc., 2015 WL 7308655 at *1
               (quoting Judicial Watch, Inc. v. Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C.
               2014)). See also, e.g., Fed. Home Loan Mortgage Corp. v. Deloitte & Touche
               LLP, 309 F.R.D. 41, 44 (D.D.C. 2015). The decision of whether to transfer is
               discretionary. See, e.g., Federal Trade Commission v. A+ Financial Center, LLC,
               No. 1:13-mc-50, 2013 WL 6388539 at *2-3 (S.D. Ohio Dec. 6, 2013); Moon
               Mountain Farms LLC v. Rural Community Insurance Co., 301 F.R.D. 426, 429
               (N.D. Cal. 2014).

  Drips Holdings, LLC v. Quotewizard.com, LLC, No. 1:21-MC-00017-PAB, 2021 WL 1517919, at *5 (N.D.

  Ohio Apr. 16, 2021).

         B. Application

         The Court determines that, given the exceptional circumstances present in this case, transfer of this

  matter to the Central District of California pursuant to Fed. R. Civ. P. 45(f) is appropriate.




                                                    5
Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 6 of 10 Page ID #:1059




         First, the parties have been litigating the earliest-filed case in the Central District of California for

  approximately five years, while the two related actions have been pending for approximately two years.

  “While, as a general matter, a Fed. R. Civ. P. 45 subpoena-related motion ‘will always be resolved by a

  court less familiar with the underlying litigation,’” the Central District of California’s understanding of the

  issues implicated in this discovery dispute exceeds “mere ‘familiarity.’” Drips Holdings, LLC, 2021 WL

  1517919, *6 (citing and distinguishing Isola USA Corp. v. Taiwan Union Tech. Corp., No. 15-MC-94003-

  TSH, 2015 WL 5934760, at *3 (D. Mass. June 18, 2015)).2 Over this considerable amount of time, the

  Central District of California has “developed a deep and rigorous understanding of the issues implicated in

  this dispute,” which weighs in favor of transfer. Id. (citing Parker Compound Bows, Inc. v. Hunter’s Mfg.

  Co., Inc., No. 5:15-mc-00064, 2015 WL 7308655, at *1 (N.D. Ohio Nov. 19, 2015)).

         Second, Magistrate Judge Sakar in the Central District of California has already ruled on a number

  of discovery issues in the underlying litigation. See Global Music Rights, LLC v. Radio Music License

  Committee, Inc., et al, Case No. 2:16-cv-09051-TJH-AS (Doc. Nos. 106, 112, 126-27, 145, 153, 158, 161-

  63, 183, 193, 195, 211, 230, 237); Global Music Rights, LLC v. Radio Music License Committee, Inc., et al,

  Case No. 2:18-mc-00170-TJH-AS. Indeed, in their briefing on the motion to compel, the parties disagree

  as to the scope of Magistrate Judge Sakar’s January 2, 2020 order. (Doc. No. 19 at 13; Doc. No. 27 at 13-

  14; Doc. No. 32 at 10.) There is no question Magistrate Judge Sakar, as opposed to this Court, is in the best

  position to interpret the scope of the January 2, 2020 order and its implications on this discovery dispute.

  Green v. Cosby, 216 F. Supp. 3d 560, 565 (E.D. Penn. 2016) (where scope of ruling in issuing court was

  disputed and did not “explicitly resolve” the dispute, transfer was appropriate). See also Parker Compound


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    In Isola, one of the reasons the Magistrate Judge recommended the Court deny the motion to transfer was
  that to grant the motion simply because the issuing court had more familiarity with the underlying action
  would allow the exception to swallow the rule. Isola USA Corp. v. Taiwan Union Tech. Corp., No. 15-MC-
  94003-TSH, 2015 WL 5934760, at *3 (D. Mass. June 18, 2015).
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Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 7 of 10 Page ID #:1060




  Bows, 2015 WL 7308655, at *2 (where underlying litigation had been pending more than a year and issuing

  court had “dealt with an array of discovery issues” already, the issuing court had “developed an

  understanding of the factual predicates implicated in this motion to quash”); In re Disposable Contact Lens

  Antitrust Litigation, 306 F. Supp. 3d 372, 378-79 (D.D.C. 2017) (“Furthermore, with respect to discovery

  proceedings in particular, the Issuing Court ‘has already supervised substantial discovery’—which is a

  factor that weighs in favor of transfer under Rule 45(f).”) (quoting XY, LLC v. Trans Ova Genetics, L.C.,

  307 F.RD. 10, 12 (D.D.C. 2014)); Judicial Watch, Inc. v. Valle De Sol, Inc., 307 F.RD. 30, 35 (D.D.C. 2014)

  (where underlying litigation had been pending for four years and had involved “‘innumerable discovery

  disputes,’” the issuing court was “in a far better position than this one to evaluate the relevance of, and

  necessity for,” the documents requested by the subpoena).

         Third, if this Court evaluated the motion to compel, it would have to weigh the need for discovery

  against Saga’s alleged undue burden in producing the documents at issue. Drips Holdings, LLC, 2021 WL

  1517919, *6. The Court rejects Saga’s argument that the motion to compel deals with “narrow issues”

  unrelated to the underlying litigation. (Doc. No. 24 at 10-11.) “The Court does not evaluate the nonparty’s

  burden in a vacuum. Rather, the Court must balance [Saga’s] alleged undue burden against the need for

  discovery of the records in the underlying action.” Drips Holdings, LLC, 2021 WL 1517919, *6 (citing In

  Re: Modern Plastics Corp., 890 F.3d. 244, 251 (6th Cir. 2018)). The Central District of California is in a

  better position to conduct such an evaluation. Id. See also Parker Compound Bows, 2015 WL 7308655, at

  *2 (“Second, the issuing court’s expertise is particularly valuable here because this motion is complex, and

  raises a number of interlocking issues from the underlying litigation.”).

         The Court rejects Saga’s comparison to Hausauer v. Trustedsec, LLC, Case No. 1:20mc101, 2020

  WL 6826368 (N.D. Ohio Nov. 20, 2020). (Doc. No. 24 at 9-11.) In Drips Holdings, LLC, Judge Barker,

  in distinguishing the instant case before her from the one she decided in Hausauer, described the Hausauer
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Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 8 of 10 Page ID #:1061




  dispute as involving a “‘very specific discovery issue,’ the resolution of which was unlikely to conflict with

  any ruling from the MDL court,” and a “straightforward disagreement over the scope of electronic

  discovery.” Drips Holdings, LLC, 2021 WL 1517919, at *7. The issue in Hausauer was whether the non-

  party substantially complied with the subpoena when it did not “engage in the ‘iterative process’” regarding

  search methods for the non-party’s electronically stored information. Hausauer, 2020 WL 6826368, at *6.

  “This dispute is considerably more complex and . . . implicates substantive issues at the heart of the

  underlying action . . . .” Drips Holdings, LLC, 2021 WL 1517919, at *7.

         For all of the foregoing reasons, the Court finds exceptional circumstances exist that must be

  balanced against Saga’s interests in “obtaining local resolution of the motion.” Advisory Committee Notes,

  Fed. R. Civ. P. 45 (2013 Amendments).

         The parties disagree regarding the burden imposed on Saga as a result of a transfer. GMR argues

  Saga is a “sophisticated business” that would not have an issue litigating this dispute in the Central District

  of California. (Doc. No. 3-1 at 12.) In addition, Saga is represented by the same counsel who represent

  RMLC in the underlying litigation, and counsel has “capably litigated in that district for over three years

  now.” (Id.) In addition, GMR asserts Saga is an atypical non-party, since it is an RMLC member, it is

  represented on RMLC’s Executive Committee, Saga’s President, Ed Christian, was Chairman of the RMLC

  for most of the time relevant to the litigation, and it is a “leading member of the RMLC conspiracy.” (Id.

  at 12-13.) Saga, on the other hand, asserts that transfer would “unduly burden” it since the Central District

  of California is “over 2,000 miles away from Saga’s state of incorporation and principal place of business

  in Michigan.” (Doc. No. 24 at 13.) While Saga concedes Latham & Watkins, LLP has offices in Los

  Angeles, Saga asserts that the Latham & Watkins attorneys “who have primarily represented Saga with

  respect to the instant subpoena dispute” are in Washington, D.C. (Id.) In addition to travel costs, Saga

  maintains a transfer “would force Saga’s attorneys to research, analyze, and brief the Motion to Compel all
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Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 9 of 10 Page ID #:1062




  over again under 9th Circuit law—all at duplicative expense to Saga.” (Id.) Relying on Isola USA Corp.,

  Saga argues the Court should reject GMR’s argument that the “national scope of Saga’s business ameliorates

  the burden posed by transcontinental litigation.”3 (Id.) GMR responds that Saga fails to mention that the

  same D.C. counsel have represented RMLC in the underlying litigation for five years without having to

  travel to California, and all discovery conferences, including hearings on motions to compel, have occurred

  by telephone. (Doc. No. 30 at 10.) GMR asserts Magistrate Judge Sakar has not indicated she intends to

  start holding in-person hearings, and given the COVID-19 pandemic, is unlikely to do so any time soon.

  (Id.) Furthermore, GMR argues there is no indication the parties will need to re-brief the motion to compel,

  and even if Magistrate Judge Sakar would require new briefs, “that is a problem entirely of Saga’s own

  making” by not consenting to have the motion brought in the Central District of California in the first place.

  (Id.)

          Setting aside whether Saga is a non-party in name only, the remote possibility that Saga’s counsel

  may have to travel from Washington, D.C. to California instead of Ohio for a future possible in-person

  hearing is outweighed by the exceptional circumstances discussed above. Drips Holdings, LLC, 2021 WL

  1517919, *7. “Moreover, the Advisory Committee Notes to Fed. R. Civ. P. 45 encourages judges ‘to permit

  telecommunications methods to minimize the burden a transfer imposes on nonparties, if it is necessary for

  attorneys admitted in the court where the motion is made to appear in the court in which the action is

  pending,’ irrespective of COVID-19-related teleconferencing practices.” Id. In addition, the Court agrees

  with GMR that there is no indication the parties will need to re-brief the motion to compel. Therefore, the

  Court anticipates the transfer will not present practical difficulties for Saga, a large company whose



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   While Saga correctly states Isola’s proposition that the size and resources of a company, standing alone,
  do not create exceptional circumstances, Saga ignores the fact that the Isola court recognized that such
  considerations are part of the “transfer calculus.” Isola USA Corp., 2015 WL 5934760, at *4.
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Case 2:21-mc-01078-TJH-AS Document 34 Filed 10/08/21 Page 10 of 10 Page ID #:1063




  Washington D.C. counsel representing them in this matter have been litigating on behalf of RMLC in the

  Central District of California for years.4 Id. (citing Hayward Prop., LLC v. Commonwealth Land Title Ins.

  Co., No. 20-50286, 2020 WL 3104288, at *2 (E.D. Mich. June 11, 2020)). The Court does not make such

  a transfer lightly; but here, the exceptional circumstances outweigh any burden of Saga’s. Id.

                                         III.   Conclusion

         For all the reasons set forth above, the Court GRANTS the Motion to Transfer Venue (Doc. No. 3)

  and TRANSFERS the Motion to Compel (Doc. No. 1) to the Central District of California under Rule 45(f).

         IT IS SO ORDERED.



  Date: October 8, 2021                                 s/ Jonathan Greenberg
                                                      Jonathan D. Greenberg
                                                      United States Magistrate Judge




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   Attorney Jennifer Giordano was granted permission to appear pro hac vice in January 2017, while attorney
  David Johnson was granted permission to appear pro hac vice in July 2019. Global Music Rights, LLC v.
  Radio Music License Committee, Inc., et al, Case No. 2:16-cv-09051-TJH-AS (Doc. Nos. 29, 94.)
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